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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY


 TZIPPA B·.W!NBERGE'R,
                                                                  I
                                           Plaintiff              I

                                                                                      RECEIVED
 DELL FINANCIAL SERVICES,
                                                                  I                            FEB 0 9 2018
                                                                                         AT 8:30
                              STIPULATIONAND CONSENT ORDER                                  WILLIAIA~M:-::T~.W_A_l_SH-.-M
                                                                                                    CLERK

          THIS MATTER havi'n~ come b~for~ the Court by the agreement ~nd upon thejoint

 ~pplication   of tbe parties; a1Jd Plai11tiffTzippa B. Weinbetget(''Plaintiff') and DefendantOelJ

 Financial Services("Defenciant") having agreedt tbro.Jtghtheir respective u11dersigned . counsel~ to

 eriter into l:>inding atbittation,o(Plaitnfff's claims agE1i11stl)efendant; andgo.od cfiuse having:been

 shown;             9'!f:
          IT JSTHisjr<kqay ofFebruary, 2CH 8 hereby

          ORDERED t}latf>Iaintiff~n<i l).efe11clartt ate tq. submit their dispute tel arbit@tio11 wiJh the
 AmericanAtbilratiQ11 A~§ociatlop in· accprcfance with.the:i;>arties~ writte11agreement to arbitrate,



          ORDERED that Plaintiff's cl~ims in the above-captioned matter are stayed pending

 tesblution ofher claims in arbit111tion;and it.isfurther

          ORDERED that this matter is hereby ad1nirtistratively terminated.

                                                          IT IS SO ORDERED.
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           Th". undersigned. c6urtselbereby consent to the substance ~~dform otlhis. Order,

   anQ' to its imrneqiat¢ entry llp<>1'.i the docket



   Edward B. GeUer, Esquire
   M. f::l~ey R.¢ph¢1"1 & Associates, P.c.
   15 Landing Way;
   Bronx, ·N¢wYc>rk10464
   AttorneYfor Plaintiff
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                     ATTA.CHMENT A
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                             JIYIPQRT4t{tME$SAGE···f.OR:Cl]STOMERS

  f()fl~wing is the DELL PREFERRED ACCOUNT CRE~IT, AG~EMENT that governs the DeU
   P:r~f~rred Account you. requested. for Pllrposes ·of financing the purchase of ·goods and/or
  services from ~e,11 Inc. or its <Jffiliates{"Dell")1 orotherparticipating retailerswhoacc:ept
  the DeU Preferred Account (e()ch, a "Partic,pating M~rchant''). Plea$e read itcarefully~ :IT
  CONTAINSVERY IMPORTANT INFORMATION ABOUT YOUR RIGHTS ANO QBUGATIONS,
  AS WELL AS UM1JJ\110NS AN[) ~C:Ll}SlO~S. YNPElt Tl-i~S A.GR~~MEf'ff XC>9 MA.Y BE
  REQUIRED· T() RESqL.VE DISPµT~S Wfl"f-l "'J:l!B~~Nl(,. DELL fINANCIAL SE~\II~~S f'OFS~ry,
  ANO OTH~~ JH~PtJ~H ~RBITRA~ON ON ~NIN~~\ll~UA~ ~ASIS,fV\'fHE~ ~~~~ .·.f..
  SOURJ. P~()~l;E;DI~G. I~ yoq. r~j~ct . th~ ~errrls and con~itiorys >COntain~d in ··the A~reement,
  yoLJ still have time to cancel your Account and avoid any interestcharges and other credit
  costs.

  IF v9u .W-~SH 1-0 DECLI~E THE TERMS AND CONDITIONS CONTAlNED IN THE
  AGREEMENT,, YOU MUST CALL 1;;800-879~9500 FOR DELL PURC:HASES QR 1-soo-ia3~2210
  FOR PARTICIPATING MERCHANT PURCHASES WITHIN THREE (3) DAYS QF RECEIPT OF
                                                            .
  THE. AGREEMENT •• You. wilt need . to·. provide .tn~ phP?~.· repr~$eO.tf;lti)J7 with Y®t DeU
  Preferred Account nurnb~fr y9~r ,~~IJ <~1.1stomer < ~uniber or ·. ~artici~~ting . ~erchant
  coste>m~r Nurnber cinQ/or yqut Order Number(s). The phone representative wm
  c:omrounicate with. WebBankto ensure tbat your Account wm notbec:orne effect;ive. If you
  rfiaq¢ ·(3 ·ptjrcht.t$E? from· Dell, the phone··representativeiwill either cancel your order or obtain
  another method of payment If you made an in-store purchase frQm a• Partic:ipating
  Mercha~t,. you should return the ]tems purchased to the Participati~~ ~e,r~ha?t If              your
  purc:has~ arrives atyour.home after·you ~avecancele~>it~ndtl1~ shipm~nt is left atyour·
  home without a signature; do not; open the, boxes.            can
                                                             the carrier ,()nd ten them that you
  are refusing shipment. The carrier· will arr~nge With you to pick up the shipment and return
  it to Dell or the. Participating Merchant

  If you do not t:oht~ct bFS to cancel ypur Account and fail fo return your purchcise to .
 Dell or.th~.ParticlpatingMerchantwithin the appUc~ble re~urh peri9d, your ac~ep~c1ce
 pf any. eroductsyoli pur~hase.d constitutes• use. of the credlt o~ered ~nd c:t~cept~mc;:e of
 th~ te~ms and co~ditions of the Agreemen~. Your ac5~p~an~e ()f' the ~~reernent will
 a.uthorize .DFS and/or its affiliates to requ~~t ~n adv~nce of funds pursuant to the
 Agreement to pay for your purchase> from Dell or the Participating Mer.chant.

                        P~LL PIU:FERRED ACCOUNT CREDIT AGREEMENT

  Offered by: WebBank, a Utah Industrial Bank, and· serviced by Dell Financial Services.

  Definitions. The. word ''Agreement" refers to your l:)eU Preferred Account Credit
  Agr~erneot. ln this Agr~ement, the wards "you" and "your" rriean ..th~. person•.vvho
  applied for this Dell Preferred Account. With the ex(;eption Qf the arbitration
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  provisi.on, the words ''we", "us", and "our" mean WebBank, who is the lender~
  "Account" means. your Dell Preferred ~ccount, which wHI be. governed by this
  A~reernent. oen·Frnancial $e.rvlces("OFS") will·se-rvice your Accouotfor Webaank.


  Use of Yf)llr Accouf:lt. Your use. of the qpen-~nd credit offered pursuant to· this
  Agreement, or its. .use by anyone you authorize, shaU constitute acceptance.<ofthe
  terni~ of this Agre~m~~~ an~ t~e arbitrat.icm provision c:ontaineo Jn this Agreement. Your us~
  9ftb~ Acqcn.ant~lsq QcknQvvle<:lg~s thatyou are of legi.!1 (lge to enterinto a binding agreement
  With us.

  Billing Period. A Billing Period is .the interval betM1een . monthly ~Uling ·&atements. The
  StatementClosing Date is the last day of the Billing. Period. for thatstaternent

  Payment•. You··promiseto•payustotall putthaseschargedtoyourAccountplusanyinterest
  Charges and any other charges that may be assessed as provided inthiS Agreement You
  promise to pay at. leastthe Minimum Payment Due as Shown on. your billing. statement each
  month by the Payment .~ue Date. We 'JVilLadviseyou of yo~r ·Payment Due. Date each month
  on your billin~ .~tenient. Your Pay.rJ'lent Due .Date 'IJill be th~ same cJ~~ of tf1~ tTlonth f?r
  ~aGh mp?t~ly 6i1Jin~ P~riodandwill be< at17~g {Vt/entytwo (22) dC)ys .after the c:lo!;e.of. each
                                                     .i:
  6:i1J.irig . . Period .... Your .Minimum .Payment. Due the sum of .all past du~ amounts plus the
  greater of $20.00 or 3% of the New Balance .shown on yolJr billing statement, rounded up
  to the hectdollar.. At any time we can reqoire you to pay an amounts' byWhic:h your balance
  exceed$ your Credit Limit. You maY pay all or any pc,rt ofyour balance at any timewithoµt.
  penalty. ·

  When Periodic Interest Charge .is Impo$ed. Interest Charges on· purchas.es· wiU
  accrue from. the ·shipment date ·or the. i~-store· •purchase date· of the•.· prot:1uc:tuntil the .d~te
  vye receivep~yment in. ft.Jll. ?f the< tJC31~.nce.pnyQUi' Ac:;~oqnt . HoV\fever,. if ~OU Petid. in full
  the·New•Balgnc;e fromyovr immediatelypreceding Billing Period bythePaymentDue Date
  $hown on the statement, then: (l)·if your Previous Balc:u1cewas zer<l(O) andyoupaythe
  New Balance for the d.1rrent Billing Period by the Payrne11t Due Date sh()wn, you Will >not
  be· charged• any Interest Charges; and {2). Jf you make a payment by the Payment Due.·.
  Oate shown on the currents@tement>thatJs les$ th~n the ~ew Balance, th(3t ~yment will
  be< credited as of the payment date and interest will be assessed~

  lo'eriodic Interest Charge•.. We figure the "lnter¢$t Charge'' °:n l>'?dt "cc:°:u~t for ~ny
  Billing .Period by applying. th~ Daily ·~~ri()dic .Rate to .the Avera.~e ~aily Balanc~ of xour
  Account (including new purcnases) and mu'ltiplying the result by the.number of days in the
  Billing Period. To d~terf'liihe your "Averag¢ Daily Balance/' we calculate a new balance
  each d~y of tf'le BiUihg Period for each separate credit plan that is. part >of your Account
  for eac:h ¢redit plan we do the following: .we take the previous balance each day, whi<;h
  irldude~  a?y  .billed, but unpaid Interest Charges; Late. Paym~nt Fees and other fees, add
  (lr1Y new purchas~~ or charges, and. subtract. any payments or other credits. !hen, we add
  up. all the .New. Balances for the.Bllling Period, and dtv1g7 ·the totetl . ~Y th~ nu..qiber of. daxs
  in the Billing Peri?d•. This gives us·.the .Average Daily Balanc~ for eash se~~r(lt~ cr~ditpla~
  that Js part of your Account~ The Average Daily Balance compµtation results in the
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  c9rnpoµflcjing .?fihter~st .qn Y?ur·. ~cc?unt, . .~nd··.you. agr~. •tl1at.·YI~. J!l~Y comppu~~·· interest
  o~ your A~coljnt ~l~ase see above, under "When Perio~ic In~rest C:harg~ is Impos~," for
  spetial rulesthatapply if new purchasesare shipped or purchased tn.~store in .Billing Periods
  vvhenyour prior Billing Peried's New aalance was zero (0) or was paid in fuU. lntere$1:
  Charges for purchases subjecttQ a. Promotional Credit Plan wi~ a deferred il'lterest fe«t~ure
  wUJ· not be added to.your Account. i.f you pay your balan~·in full.bythe appropriate ~eyment
  Due Pate~.1~ tl)e Ioter~t Cflarge on any . billing ~ternen~ ·.i~ les~. tf"lart $~.QC), ~ IJlinirnulJl
  I.ntere&t C:~ar~e fee of ,2.00 wiU be impQ$eq. The fee; wm be re~rred t() on yo(Jr billing
  $t~terneritas ''Minimum Interest Ctia.rge.FeeJ'

  ~-riodic Rate~ ~he Daily P~riodic Rate and   corresponding Annual <Percerita~e Rate (APR)
 .··~re •variabl~ r~tesand. maychange each.month... Tne.correspondif1g.Annual .percentage
  RC:Jte (the APR for :purchases) that applies to YOtJf AccQunt is determined by add i11g a
  Margin to the Index, which is described below.

  The Daily Periodic Rate is determined by multiplying the APR< fat purchases by 1/365th
  (l/366thln a leap year)~

  Thecu~rent c?rre~p?nqingA~~for •putch$s~s,. Daily·· Period it· Rate, . Margin ·and· any· additional
  restrictions on how we ·determine ·the Annual Percentage Rate appear on the <Pricing
  A(Jdendl.lm that acc:ompanies and is: a partof this. Agreement

 TheJndex· is the Prime .Rate pµplished inthe''Mbney Rates" table by The: Wall$treet.lot1mal
 the. business dC1Y ilTlm~iately precedin,g theJirst day ofyour billing c:ycte. A~y ch~ng~ i~ the
 Index wiUcause the c:orrespooding·.· Annual Percentage Rate to p~ adJt1S,t~q ·.<i~· of the fit$ cjay
 'Of your· Billing. Period that begins ~fter   the change.

  Promotional Credit Pla11.$. ln ~cidition •. to p~rchas~ t~at accr~e Interest ~~arges. and
  requir~ rn.onthly p~Yrn~~ts.(is de,scribed previously in this Agreement,.Pror:n9tional Credit
  Plq~$ rn~Y. be.offered from time to time?" specific purchases~ APromotfonalCredit Plan
  is strictlylimited.by its terms and.the terrns<and conditions of.~he sped~I promoti?n. to
  ~hlchU   relates.In a~ditio~, the benerts of. aProm~tioral Srecjit Pl~nwill e~pire ~~.d <all
  accrued Interest Charges .in these plans will be e1dded to your .Aq::ount if your· Account is
  placed in default. The special promotions that may be offered indude:

             a) ,No lnterest CreclJt Pl~n - If Yol.I p"y the fUff pt.Jtchqse price before: the
                 expiration d(.lte.Qft~e promotioh, as indicated. on y~urbilling statement, a~d
                 pay the Minimum Payment Due each. Billing Period when. due, no Interest
                 Charges will be imposed on the purchase; If such payments are not made,
                 Interest Charges from the date of shipment or >in~store purchase .date vviU
                 be added to your Account either when you fail to make a payment during
                 the promotion period or at the end .()f the promotion period. We··mC;Jy. offet
                 promotion periods ()fdifferent lengths that We Will artt\()(Jllce frc>rn time to
                 time.
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             bl   Prol'Tlc:>tion~l   Rate Plans ~ We may offer Promotional· Ra~. Plans with
                  promoti9nal periods of different lengths that we will annoLJhce from time to
                  tirneJor a specified· number of days.

  <:r~ditLint~~o Your ''Cr~cjit l-f O'Jit'' .on your.Accoµnt Will. be s.~C?l/lfO on yoyr gilling
  statement. You" notw~, ar~.responsible forpr~venting the balance on· yourAc~~nt
  from exceeding the C:rec;lit Umit. Yov a~ree not to make· any purdlases that ~?lJI~ ~~k~ ~he
  unpaiq. balanc:e. 90 your Ac:cqunt extee<j your Credit Limit If·you ~~~d yo?r ~redit Limi~,
  we may require yo14 ··~. immediately pay the excess and rela.ted lnt¢rest; Charges.. You also
  agree thatwe·roay increase or lower·your Creditlimitatanytirne~ · ·

  9harges. Ttl~ ·~ollo~ing fees, when imposed, will be ~ddect t~ your ~ccount balance. The
  following amounts are· our current fee charges .. We reserve the righttq ·change the fee
  schedule frorn time to time and, if we do so, we will give you any notice required by law.
  You may call Customer Service for a c.:urrent fee schedule.
       • A Late, Pa.YrnentFee ·~ill be imposed ify()u failto p~y us the Mi~itr1Llf:Yl .Payment Due
          ip full PY the P9ymentDue: Date on your billing ~t~rnent. 1"he. l(3te Payment Fee wiU
          be up to. $2$00 for the first. late PC1Y01ent and up to .$35.00 for additionalla~
          payments within· the next six (6) bHling cydes. afterariy ·prior late pc;tyme~t but will
          not be more than the amount ofypµr Minimum PaymentDueimrriediately prior to
          the late, payment.
       • ANot.Sufficient. Funds (NSF) Feevvill be impo~g·ifyQur bank returnsyourchec~e>r
          payment' instrurne.ntto us· unpaid, J:>r will nothonor :your direct debit, or w~ can riot
          proce55 such payme11tfor ~nyreason •.. The NSF•. Fee will be upto $25.00>for~pe first
          returned payment and lJ~ tQ ~~S.·~o !oradcHtional retiJr:ned payrnen~ \'\'ithin t~e.next
          six<(6) billing cyd.~s ~fter any prior retumt!(j payment bo,t wUI pot be· ~ore ~han the
          am~unt of your Mini.mum PaynientDue immediately ~rtor to ~he retl)rned ~~y01ent
         You will inc:lJrthe NSF Fee even if your. payment is 1<:1t.er hqnored by your bank upon
          subseql!~ot presentment.
       • The $2.00 rnlnimynt Interest Charge• imp.osed on any billi~.9 ·si:at¢rt1ent tor. Which a
         .periodic Inter~st Chargeis irnposed as described in the paragr(lph entitled. "Peri~dic
          Interest Charge.'' It will appear on ypur bUUng Stqtement as. "Minimljn1 IntE?rest
         Charge F¢e."
     •   Miscellaneous Fees rnay be 'imposed, inclu~ing a charge for c~pie~ e>f billing
         statements that.Y/e are not. require~ bylawto fumis~ you withoLrr charg~ •. The·rates
         are: research time $15.00 per hour and· bJlliog $taternent$ $4.00 per copy.
     •   An ~pedited Pqyment Fee ofupto $1.5 per payment may be• irnpo$ed for authorizing
         a. customer servi~e repres~ntative to .process a one-ti01e ~>.<:pe~ite9 .·• eayment through
         the.use of Automated Clearing House procedures or other electronic funds transfers
         from· yoyr C:he~kin~.accoul1t. !his fee·doesnot·ap~l'f ifY,?~ ~ign. up for·an ongC>i.n~
         automaticpciymentplan where payments are·(:leducted routinely from G1 d~ignatE?c:I
         ao:ouht.

  Form Qf   Pav1t1ent.   AH. ~ayments must be in v.s. OoU~rs,. and be made by check, money
  order,· ele¢tronic fynds transfer or such other m~an$ as. Y/~>m~y expres.sly permit. OP not
  send cash. Payments made via il credit card wm not be accepted~ .Arw payment mad~ using
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  a c~eck ?r draft may not be. proc:~ssed or appliec1 to; yo~r ~c~q9nt if it is: postdated;
   i~CC?mplete{such as when a· si.gnature ismissin~)i t~enumeric ~rnountisdifferentthan the
   written• amount; or i~is .not mad~ payableJ? acC()rdance \Nit~th~ instructions on your biUing
   statement AU c:redits for payme~~ ?" your Acco~nt are subject to final• pa.yment by• the
   institutipn>onwhic;h tbeJ~~m of paymentwas drawn. When you prqyide a c:heck as paym~?t{
   you Qutno~ze.us ~ithe~ to use .informatio~·t,rom your aneck to make a·one-tl!Tle ~l~ro~rc
   f~l'ld tr~~~~r fr?.01 your bank account or to process the. payment a~ a ··~~~~. Q'ansE!c:ti~n~
   V'Jhe~ V/e~·· information·from y()ur checkto make an.electronic (.t-tnd tr~n~er;,.funds maY
   Q¢··. ~it?drawn fre>m your bank ag:qunt as soon as the sa01e cjay. we re<:ei'Je y~~r payment,
   an~r?.uV1iff not·re~ive.your· che.d< ba~k frQ"} yo~r fina.l'lciC11 . institu~on.. I~you··~ubmit as
   paymentthree.f3).electronic: funds tra~~ers retur:ned·tor. any reason.inany.twelve(12)
   month period, you agree· that we may refuse to accept subsequent payments by electronic
  fgnds transfer even ·irany of the. ch¢cks was later accepted· •by your bank.

  Generally,>'Newill n?ta~¢~pt.any paymentthat is not drawn either on a flnanci~I institution
  located. in ~h~U·?· or the u.s~. Post Office .. If we do~ we may charge you:~ny· ba.~R C:?llection
  fee$ we i~c:u.r~ . we can acceptlateorpartlalpayments, and.payrne~tsthat9re markedwith
  restrictive endorsements such as "paymentUn full/' withoµt lpsing any of our rights.

  Pl.EASE REMIT PAYMENTS TO: Dell P.referred .\(:count, Payment Processing
  Cetit~r,   P.O. Sox· .6403 Carol Stream, .II-. 60197;..640~.
  ~p.pli~tion · of Payment.$.. ~e 'Nm apply Pay,ments ··.to y~ur ~ccoµnt qonsi~ent. with
  applicable.law. This means that· we .generally apply payments. in excess of.the ,.,,ini(T)Um
  Payment oue··to. bal<Jn:ce~ witn·.the .higher . AP!G before. balance~ with tl'le lpw~r . ~PIG·
  Although   we:applypayllle~ts :as of the date we receive them if t~~Y ~re p~id. in ~ccordance
  with thi~ A.greefT)ent ~~dt~e i~stfuctions on your blUing statement, your .available Credit
  Lim.it maY n~t r~flec:t ~r~drt for yeur payment fo.r up to ~en (10) days after we receive your
  paymE?nt In sqme circumstances, restoring your tptal available credit may be further
  delayed.
  Defa,lllt. Your Ac:count Will bejn defa~lt if: (1Jy?u e~~ecj the Credit Lirnit in effect op yo~r
  Accoo~t; .(2)you fail to payw~en due.any •.~mount.owedunderthis Agr~ernent;~r(~)•y.o~
  made any misrepresentationst~ us i.n ap~lyingfor credit. Jfyou are indet'au,lhv.e fT1~Y requir~
  yo~ to paythe totaloutstan~ing balance on your Account immedi~tely.V/e t;lo.n.othaveto
  notify you or demand ~yrnent in ~rderto take this action. As describ~ below under Ac~ount
  cancellation, .we can cancel or suspend your right to charge additional purchases to your
  Account at any tirne.

  co11C!~io11 ~os~>~n~ ~ttorne,y Fees. Asp.errnit:t~ byl~w,you agreeto pay all ree1so~able
  attorney.fees, court costs and. otbercollection c05t:Sactu~Hy.incurredby us in thecollec=:tiQn
  of any aroountsyou owe us under ttiis Agreement or which are incurred by usJnthe event
  ofyopt bankrtJptcy or insolvency.
  $~¢urity Interest. To; the extent. pern'litted>by applicable law,.vouhereby Qrantto us
  Clhdweare retalnlng a purchase moneysecurity·interestunder tMe Uniform commercial
'.   Case 3:17-cv-05474-FLW-DEA Document 8 Filed 02/09/18 Page 9 of 17 PageID: 38




       C:ocle in. th~ filerchandis~ purchased on your Account until such ~erchetndise is paiq for
       in ~~II .. Yo~ C19teeto. assist .. us·Jn executing ·any   dOC:l.l?Jents . ~ecessary.to.perfect our
       security· interest lf you do not make ~ f.1inim~~, P~ym~nt Due on your Account by the
       Payment Pue Oe1te, we 111ay repossess any merchandise that has not been p~id fQr in full .to
       the extent permitted by law.

       Account Cance.Uatio.,. Yov may cah¢el ·your Account at .any titne by notifying u~ in
       writing. We may· at any tim~ <l ne;t for (lny reason, without pri()r. notice refuse. tc:rauthorize
       any· purchase on your Acc;ount, or suspend.your Account and your· right to use yopr
       Acc~unt. In additJon, we may .Cl~ any ~irne ~~d for any. reason, without prior notj03,5~n~el
       your,Account.Ifwe cancel your Account, we may require you to pay the full OtJ~tanding
       ~a.lance· of your• Account. No cancellation or su~p~nsion ofyc:>ur AccQQnt vvm affec:t your
       obligation to. pay any arnoun~ xou ol/le us under this Agreement You. agree t~at.rou \\'iH
       not try to make a purchase after you have been notified. that your Account h~s l:)een
       canceled.

       Final Agre~mE!nt, i~is Asreementi5, a final expression• pfthe.agree(rl~~t bet.W¢en you and
       us C;Jnd may not be c:ontradicted by evidence of any alleged oral agreement.

       Amendments to This Agreement. We may change ·Qt terminate the terms in this
       A$Jreenierrt; ?r th~ servic~s or features .of your· Ae<:o~nt (hich.ldin9 ·.increasing ·.your .Interest
       Ctiarges}c:ttany .time as permitted by law~ We mayalso add new terms to this Agreement
       orservices·~n~ features to you.r Account~ Any chanQe in terms or any new terms may(lpply
       to any outstanding bafapce as well as on subsequent transactions and balances. To the
       ~e~t ~~quired. by Jaw, we will notify y(Ju in ~Ovance ?f any changes in terms or Cl".Y ne\\f
       te~~s and any right to reject such ch911~~s by mailing ~ notice to you at your a?t:Jre~ ~s
       shown on our records. However, no amendment will eliminate our oblig<Jtion~ r~l~ng tQ
       arbitration ..Any dispute that arose before an amendment .shall be governed by thiS
       Agr~ernent. (induding the binding individµal ?trbitration clause) that was in plac:e when the
       Dispute arose.
       AsSignment>Of Ac:tQl.lrat. We may sell or transfer your Account or any amounts owed on
       your Account to anot~~r part:Y at any time Witbout prior ~otice to you. Ifwe assign yQL)r
       Account, t~.is Agre~ment VVill still be in effect and any ~~C~()r vviU have our rights. in this
       Agreement to the extent assigned. Following an assignn1ent, the words "we~', "us~', and "our'i
       in .this Agreement shell! reff:?r to a.nY assignee. You shall nbthave any right to transferyolJr
       Account or assign this Agreement to anyone•

       Telephone Monitoring.Telepbonetommunications with us, including cans with any of our
       agents or independent contragor~, are routinely monitored and/c.lrrecorded. You expressly
       cgnsent,  oh behalf of yourself and other users of yoµr Phon~,. to being monitored or
       recorded.

       Mobile Phone COmmurOtations. If you have already or in the future provide u$ with a
       mobile phone number as your contact number, you expressly authqrize. us; and our agents
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   or independent contra.ctors, to con~c;t you regarding. yo1..1r Ac:®vntfQt non""telematketing
  cornmuni~tions, via text mess~e or rnobile telephone, incllJding •by way of pre.-reeorded or
  auto;,;diale.d caifs, •using that mob,ile pl100¢·.num1:>er.. Normal· mobile phone charges·or·~
  message r~te.s may apply~ Your ¢C>h$entt() use y9µr mobile phone number may be revoked
  by calling t.;soo-ia3".'2210 or by sending a written notic:e tel us~ on line or by us. Mail, at one
  of the ·f<>U<>wing. addr~es:

   www.dellfinancialservices.com
    or
  [)ell Finantlal>Services
  P.0; Box 81575
  AuStin, 1exas• 78708~1575

  Any revocation by you reg~rding yolJr mobile phone number shall not revoke our righ.tto
  contac:tyou utilizing any ottier contact information you previously provided to .vs or may
  provide· later.
  Change. of Add~s~ If you move ot change your billing address. or e-mail· address, you
  agree .· . tQ . . prorl'lptly .notify . us of your new address· in ·writing Qr 0111ine ~t
  www.deHfinancialservices~com.


  Authoriied Users. You rl'leiY give a.nother person autnorizatipn to use your Account•. You
                                                                     "u
  ate liaolef~r an.useof your Account, and you• agreer() Pc:IY amounts iricurredbythe .use
  Qf your Account,· made. by you or anyone tq wt\()t'Tl you have given authorization· to use yqyr
  Account~


  LiabiHty·forUna11thqri:ze~ tis~. Ify~u·.n.otice··the• loss or theft of your Acce>untora P9~it)le
  unauthprized u~~ of your Account, you should call ;us immediately at 1~8()6-228~9620. You
  must also con@c.t.   vs jn writing to   provide information about the lo~s, theft or potential
  unauthorized. u$e ofyourAccount at:                            ·
  Dell f=inandal Services, Attn:. S~curity Dep<:1rt:rnent, P.O •. Box 815651 Austin, TX 78708

  Yo~   wm not· be Uable for any ~gC3Qt~qrized use that occurs after you notity U$. Y:?U rT1aYo,
  however; be.tiable·for tJnautjiorized.use thatoccursbefare.vour notic;eto us •. In.any case,
  your liaf:)Uitywm·not exceed $SQ.

  Unauthorized. use does not include use by a per$on to whorn             you have given authority to
  use your Acc;o.unt

  Credit.~nve$fjgation and.Reporting. You agre~ th~t.·we . may. invE5t;igate your.c~edi~ in
  connec;tion lJtli~hthe.initial extension, review, ?r. ~ol.lection. of your Account.. Yo~.~9reetJ1~~
  w¢· may   examine employment and •.income recordsandi verify your credit references and also
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   J11ay report to· credit r~porting ·agencies, merchants, and other credite>rs the ,status and
   paymenthistory of your Ac:CPunt.

   Oelay   inJa.king Action.·We will      not lose any ofou~.rights .• underthis Agreement if . we
   del~ ~king action for any .reason. To
                                       the extent all~wed by ·1~w, Y!e tT1ay tak~ other action
   not desqibed in this· Agreement;. and by· doing so will not· lose our rights under this
   ~~~                                                                                             .




  :sEWerabiHty. If any .provision of this Agreement is found to be unenforceable, aJI other
  provisions shall rernc:iin in Jµll f()tte and effect

  Applicable ·Law. The..1aws of ttle ·united. states.of America,.in~ludiQgth¢~ed.era1· . Arbitration
   Act, 9 uis~c:.       l"-16 (the "FAA'), and the laws of the State of Utah apply to and
                    Section~
   govern thisAgfe,ementand your use of your }\(:count


                                                NOTICE

  l\NY tlOli.lt:R. OF THI$ CONSl.Jf-tE~ CRED:tt CONTRACT IS $UBl~CT T.<> ALL
  CLAIMS .AND DEFENSES WHICH THE DEBTOR COULD ASSERT AGAIN51" THE
  SELLER OF GO.ODS OR. $~11.VIt~~ t11ITAINED WITH lli~ PR9CEE[)S HEREOF.
  R~COVE~Y HER.~U,.Dl:R BY THE DEBTOR SHALL NOT EXCEISD AMOUNTS.·PAID BY
  THE DEBTOR HEREUNDER.

                                      ARBITRATION NOTICE

  THIS AGREEMENT •CONTA!Ns AN· ARBITRATION CLAUSI?•. Plb\$~ .lU:AD· nus
  PROVISION CAREfULLY. IT PROVIDES THAT ANY CLAIM REl.A"llNG TO tOUR
  A.cooUttt' MAY ;BE RESOl.V~I) BY BINDING IN[):rvIDUAL ARBifRAl'ION. Y()U' ARE
  ENntl.ED TO A· FAlll.fl~NG, BUT.THI: ARBITRATIQN P~qt~D~·R,ESARE SIMPLER
  AND·. M()ltE·. LJMXJ~.~· ~~ . RULES APPLICABl.E .IN . ~Q(JR"f, ANI) .ARBJ.TRA110N
  DECISlONS A~ S.IJEl:Jl!¢'TT() ~RY.UMJJllp IJEVIE\N. CLAIM$ MAY BE ARfllfll~AJ'f;P
  ONLY ().flAN INDMDUAL BASIS• IF EITHER PARTY CHOOSES TO ARBITRATE A
  ~~M •... ~ErrHER.f»ARTYWil.L. fij\V~ filE.IU(;HT TO Ltrl:GA")9~~~°1" CLAIM.IN
  CQ~Hl.T OR. TQ       1-U\ve
                      A lUfl'Y '!~L ON THAT CLAif4r ~~ "'fg• P~ltTJCIPATE I~ .A
  CLASS ACTION ()(t R.EPRESf:tffAllVE ACTI()~ ~ ·llt:SPECT' TO SUCH CLAIM.

    ARIJ~RAllON CLAUSE_~es: NOTAPPLYTO ACT.t\IE DIJ['(SERVICEM§MBE~

  Arbitration~ Except. as. e~pressly      provided •. herein,.   any. cl~irn'.· ~ispute .. or controversy
  .(whether based. upon cont~act,tort,. intentional orothef'\i\'ise, c;onstitut.ion, statute, comm?"
  law, or equity ~nd wh:ethE!r pre-existing, present ~rfu.t~r~ incl~ding initial ctaJms, c:p~nter­
  claims, ·cross~clalms a.n(j. third-party claims), a~ising .f:rom or. relating to you. ap~lying for,.
  obtaining, or ~sin~ t~is Account, this Agreem~~t (including the validity or enfo~ce~~mty of
  this arb.itration cl(!use, any partt~e.reof or ~he entireAgreement),• ort~erelati~nships Y1hith
  re$Ult from thjS·Agreement.(''Clairn') shall be decided, upon the el.e(:tlon. of you.or us,·by
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   bin~i~g . ~rbitration pursua.ryt .to this . arbitr~~on .provision ~net. the· .qppnca91e rules and
   procedures of. the. arbitration a~rnioistrat~r. (inc:.ludinQ any applicable procedures for
   consurner-relateddispu~$J.in ~ffect at t~e time the pain1.is . filed. The party Initially
   re9u.e~ting. arbitratlon shall s~lect eitherthe American Arbitration. Asso<:icition f'AAA'') •or
  JAMS as the. arbitration .. adrniniStr~tor. You may chang¢ >ttJe. selection to the other
  org~ni~a~ion listed within 30.days afteryou receive.notice. of an ele¢Jonto ar~itr~t~.~f.~
  ~elected arbitration.· administrator does> not. agrE!e .to <(lrbitrtl~ ··~··· C:lairn~ .the. re01ai~in~
  arbitration ~dministratorsha.11 be selected. ~lairns mar be referre<J to ~n administrator
  other than the .AAA·. or JAMS if both AAA•· (lnd JA.MS ~re m>t avail~ble. We agte~ not to
  invoke our. ~ght to arbitrate any.ip~iyict~~1 . Cl~ilTly()u bri11~ in •. s.mall. claims court; ()ran
  equivalent <:<>~rt s~ l()ng ~st~e   9airn .  i$pendi~g ()nly• Jn .that. court It is:tbe· intent of th~
  parties.tarequireCl~.irns.~o besubrT1i1fed.~· ~rbltratio~ onanlndiVidual ba~is onlv- (Zta•01•.
  st1bjett.to thi$. ~rbi~riltiQn···p~vision. ma~ .. not .. b~.joined .or consolidated .. in
  arbitr~ti()~ Vllit~ a~y Clai111 ~f any other person or be arbitrated 011 ~ diiss. ~a~is,
  i11 ·a repre$~t1tative capacity on behalf of the general public or on behalf e>f any
  Qther person ..

  ~o~ .the purposes of this arbitrati~n provisi~n, ~he.· terms '\(/e" and "us'' shall rnean
  Web Sank and Dell Financial Services ~. ~~c., their parents, direct (!ndJndirect subsidiaries,
  affiliates, licensees, predec:es$ors, ~uccessors, assigns and .any purchaser ofthe Account
  or any receivable$ ari~ing frorT) t.he use of the Accoun~, and each of theJr resp~c:tive
  employee~~ direct9:~ ~ncl representatives. I~. addition,. for th~ purposes ~f thi~ ar~itrciti~n
  provision, ''we" ~nd "us" shall mean. any thitd pa.tty praviding.~Q'l produqs or services to
  you or us· in· connection with your Account(i~cludln~ bu~ notlifT1ited ~o any credit bure(lu_;
  ?.~Pt collec:t?t or vendor, . Participating .Me~c;ha~t, . ttndlnc:lu~in~ theirparents, direct and
  indirect s~bsidiaries, affiliates, li~ens~e~, prec;iecess~rs, successors and a$lgns, and each
  oM:heir respective employ~es, dir~prs: and re~resentatives) if such third party i~ q ~p­
  defendantwith us.Jn any C.:1.aims ~ss~~edbyy~u.or if any Claims assert~clbyy~u a~~inst
  such third partyariseftorn or• are r~lated·to·your Accountor.anypr?cf~~ 9rs~~ice5'
  provid~.to youor.tJ~•.in connectionwith . yourAccount. F~rt~e.purpo~es of thi~,arbitr(3tion
  provi$icm, the term "you" shalt mean you. aod any person C1Uthqrized by you to use your
  Account.

  ~ny ar~itratioripursuant to this· PfOvi~ion may be resolved without an in person hearing,
  as determined by the arbi~ra~~r.  Jf a he~rihg is held, it shall take place withinthe county
  or pari$h in whichyou liveorat$1JCh otherreasonably convenient.locationas: agreecl
  by the parties.

  In any arbitratio~, we will pay     the entire amount of the arbitration fees, int:IOding any
  required deposit. l;?c:IJ party shall beJnitially responsible fqr payment of their own attorney
  fees, witness fees and similar expenses.

  The arbitrator shall <:1Pply ~pplicable substantive la'/11 .consistent with. the FAA and
  applicablestatutes of limitation.and shall .honoran . claims ofprivilege<and·confidenti~lity
  recogOilec:J i;tt law.• The arbitrator. shall ~ave •~he. sole and e~cluslve a~thority to resolve
  ariy d~spute relating to the enforceability of this arbitration provision lnc:luding ~ny
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  ~nconscionability ·challenge ~r . a?y c>therchallenge that~he Agreement or the .arbitrp~on
  provision .is void,..Voidable, or ·Otti~rwise . invalicL The· arbitrator shall be• empowered.!o
  gtant whate~~rreUf!f Viould be ~vaUabl.eJn court under liJW or in e9~ity. j\t ·tf:t~ c<>~cl~si9~
  9f thearobitfation,·the:arbitrator·.·may alloc:atearbit~ationfee$in·.~cc:?rdance.with.·applicable
   1aw.1 ~provi~ect th~~suchfees do• not::exc~d•.thefiling ·fees tf:lat W<?ulq have· ~ee" incurred
                                                 or
   if the Clairnhad been· brought• ii1 a st.ate federa.I. G?~Jt V/ith· jurisdic;ticm .ovf?rthe Glalm.
   ~here authorized by applicable law,the arbitrator's awardm~y also inc:lude attorney fe~,
  vvitness fees and simi.lar e~Pf!?S~~·· At t?e requ.est of any partyj the arbitrator .will provi~e
  a Written explana~on ofthe b~si5:.forttle>award.andthe disposition. Qf each Qai~, {ncluding
  written.fin~ings.of f~.<:t~l'lQ c;e>ndu~ionsoflaw. Judgment(Jpon theaward may b~·entered
  in any courthavingj.1,;1ri$diction.

  Thi.s   arbitration provislor1 shalrsurvive terrntnatiort ·of yo~r.A¢cout'lt as well as the
  ~eeay111e~t .. °:' . all. amounts you .owe und.er .the ~gr~enient ..... If. anY . . ptovi~ioh of. this
  arbitration agreement isfound unenforcea~le, the ~~enforc~able provision 'shallbe severed,
  e1nd the remaining arbitration terms sMall be enforced (but in no case shaU there< be. a class
  arbitration).. In the.eve.at ofa conflict or inconsistency between the •. rules and procedure~ of
  the arbitration administrator and this arbitration provision, this arbitration provision shall
  govern.

  YOU ACl<NOW~l>$t; lltAT IF A CLAIM ARISES YOU· M.A'Y BE R~QtJJRED tO RESOLVE
  THE CLAIMTHRQUGHARBITRAUONAND~GIVING .UPYQQR RlGHT$TO IJTIGA~
  TH.ATC:LiqMJfiAC:QURTORQEFORl:AlURYORTQPAATICIPATEINACLASSACllON
  OR.· RJEPIU:$ENTATIVE• ACllON. WITH;.RESPECT' TO $1.JCtf· A Cl.AIM •. OTHER Rl~HTS
  THAT YdU WOULD HAVE J:F ·vou. WENT TO•COURT .MAY Al.SO.BE. UNAVAXLABU Ql't
  MAY BE UMttED IN ARBITRATION.
  You may contactthearbitfi:jtion admini$trators and obtaintheltarbitratie>n rules or learn how
  fofile.a·Claimwitntne AAAorJAMS asJollbws:

  JAMS
  1920 Main Stre¢t, suite 300
  Irvine, CA 92614
  (949) 224-1810
  www.jam5adr~c:om

  American Arbitration .Association
  1633 ·Broadwaw :rotti Floor
  New York, NY 10019
  (800)•718q879
  www.adr.org
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        ~ r:~lJire~      by federal. ~nq, .U~h .1C1'N, you ~re hereby. hotified that a negative credit report
        re~~etin~ o~ '.your ~~edit record     may be submitted to acredit reporting agency ifyou fail to
        fu.lfill ·th~ t~rms ofyour credit obligations~           ·

       t40tic:e for . au i\Cc:o~ntp, inch.1ding New . Yorkl~~ocle • .· l$~~~d/Yf!tl11011t
       Residents:· You agreeto give us per111is.siontoob~In.a creditrepo~:froma con~umer
       reporting agenc:y irt conne~ie>n.with ~hi~application,. a.~ytran~ctio~, or extension.of
                      on.
       credit, pf'ld an ?090ing. b~si~, for ·.~he·. purpose. of performing a routine. and. opcasional
       ·verification of credit onyo.urAc~ount~adjustin~. thecre~itlimitonyour Account, taking
       collection ac:tion ort your.Accpunt, .. orfor any.other legitimate< purpose
        ~~9~iat:ecfwitn youtAccount.. oponyourrequest, you·will.be· informed ofwhether?r~ot ~
       oo~s~m~r credit report Vt/as ordered, and if it wa~, you wiU qe giy~n the ryani~ a~~ a~<Jress
       o~the C:?nSUtnE?r reporting agency that furnis~eclthe ft?POrt· ~e\¥YOr~Je$idents rniJY conta~
       the·NewYorkStateOepartment.of Financial·servi~esat i~st1~22s~S697orat·1 State Street,
        New York, NY I0004 to obta.ir'l a c:orn~ratiVe li~illQ <>f credit card rates, fees and grace
       periods.

        Ne>tif!~ for Ccllifornia Residents: California law requiresthat we inform c:ustomers that
        sho.u.ld they. faff to fulfill the terms of their credit obligation, a. negative report refl~c;ting
       on· their credit record·may·besubmittedtoa·credit reporting                 agency~.   rt you·are married,
       you may apply for a. separate account in your own narne.

       ~oti~e: forOhio ·aesidents: The Ohio• laws· ag~in~•·cJi~~rimin~tion.reqUireth~t all. C1"edito~
       make credit equally available to alt 5re?it ~o~~Y ~ustomers, and th~t credit reporting
       agencies maintain s~pCJrate c:red.it hist9ries ·()~.each individual upon request. The Ohio civil
       rights commission administer5 c:omplianc:e with this law.

       Ne>tic:e fC)r '4ilrried Wisconsin Residents: If you are n·1ar~ied, py sp~111i~in~ JPlJf
       A~<;QIJJJt ~pplicati?~· you are confirming that·this Account.obUg~tio~ ls· bei~~ •. incurr~d •in
       the• in~er~st of·. your .marriage .. and your •.. family .. l\J(>. provi$ion . ·of . iJ•.·•marital•·. property
       agree111~nt, a unilateral statement: vnderSe9. ?66.~9 Wis! s~~·~ or a court decree under
                                                           ?f
       Sec. ?~6]0 adversely affects the in~ere$t th~ c:re<Jit<)r Hnl~s~               tt\:
                                                                               creditor, prior to the
                                                       a
       time the credit is .9r.Cinted1 i~ furnis~ed c:opy ofthe agreement1 ~t;Jtement, ordecr~ or
       has actual knowled~e of th~ adverse prevision \fllhen the pbligation to the creditP.r i$
       incurred. If the Ac;c:ount for which you are applying is granted,. YO.U will ~ptify u$ if you
       have a spQU$e who r1e~<:I$ to recEaive notifica~ion that creclit has been extended to you.
       Your Billing Rights:Keepfhi$ DocumentforFuture U$e

       This· riotice tells you about your rights and• our n~spcmsibilitif$ under the. Fair Credit Billing
       Act.

       What to Do If You Find a Mi$take on. Your Statement

        Ifyou think there is an error ~,.n yourstaternent, write to tis at:
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       • ·we. can apply any unpaid amount against your treditlimit.

  After we finish. out investigation, 1 of2. thingswnt happen:

       • lfwe. made a rnis~l<e:: You wilLnot have to pay the amount hi qµ¢Stic;>n or any interest
         or other fees related to that amount.                          ··

       • Ifwf! do not p~lie~~ the.r~ ~as a(Jlistake: You will have to ~Y ttte art10Untin question,
         along with applicaole interest and fees~ We will send you a statement ofthe amount
         you owe and the date payment is due~ we may then re.port you as delinquent if you
         do<notpaythe.amoul'ltwe think you owe.

  If you   rec~iye 9~re)Cplanation but.still.believeyour bHlis wro~g,   you mustwriteto yswithin
                           still .refuse to pay. Jfyou cio<so;. we cannot report you as delinquent
  JOda~~telling t.JS that you
  without also reporting that you are qy~~ionlog yourbiH. We must tell yo~ the n~m~ ~f
  anyon~ t(). whom we reported you. as rJelinqqent, and we must: let tho~e organizations: know
  When the matter has been settled bet.Ween us.

  Ifwe do notfollow all of the rules above, you do not have to pay the first $50 ofthe amount
  you question even ifybur bill is correct.

   Your Rights If You A.re DissatiSfied With Your Purchases

  Ifyqy art! dissatisfiedwith the>go?d$ or ~rvi~est~at you havep~rc;ha~¢q ·\t'Jith. ~ell Preferred
  ~~c9unt, and you. have tried in 9ood .· fitith to correct the• problem \N~~ ~he merchant,you
  may have the right.not to pay the remaining amount di.le on the pl.Jrthase.

  To   use this right, all of the following rnust betrµe:
        L The pljrcha~~       must have been made in you.r home state or Within 100 miles of your
            c~rrent maili~g address, and the purc:h<J~e price must have been rn?re         t.ran
                                                                                        $50~
            (Not~; . Neither of. these are. n~c:ess~ry . if your purchas~ was b~se.d on an
            advertisement we mailed to you, or if we own the company that sold you the goods
            orservices.)
        2. You must ~ave useclyc;)µtDell Preferred Account rorthe purchase. Purcha~es·01~d¢
           With @Sh ()dvances from an ATM or with a roeck thataccesses. your Dell Preferred
            Account do nQt qualify.                                            ·
        3. You. must. not yet .have fully paidfor the· purcl'la~e.

   If au of the criteria abov¢ ~re met and you are stiff diS$atisfied with the purch~se,   c:cmtact us
   in wri~ing. at:

            Dell. Preferred .Account
            Attn:· Silling   Inquiry Departrnent
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          P~O. Box 81585
          Austin, TX 78708'."lSSS

  While weJhvestlgate1 the same ru.les apply to the ·disputed e111ount.as discussed above~ After
  w.etinish our ·investigation, we will tell YPLI ot1r deci$io.n. At that poi pt, ifw~ think you owe an
  Cl.mount and you do not pay, we. m(!Jy r¢pott·you asdeli'nquent
....Case 3:17-cv-05474-FLW-DEA Document 8 Filed 02/09/18 Page 17 of 17 PageID: 46




             Dell Preferred Ac:count
             Attn:- Billing Inquiry•Departrnent
             ·p.o~. Box 81585
             Austin; TX za1os-1sas
    In your letter, give us theJollowing information:

             • Account info.rmation: Your name and account number.

             •    Dollar amount: The dOllatarnount of the suspected error.

             • Description Of pr()blem: Ifyo11 think there is an error on your bill, describe what
               you. believe Is wrong (Jhd. Why you believe it Js a rnJStak¢.

    You must contact us:

         • Within. 60days after the··error appeared•• on. your statement.

         •   Atleast.3 business days before an. autornated payment. is ~heduled,.·ifyou wantto
             stop paymenton the arnounf you think. is wrong.

    You ·rnuSt· notify· us pf any potential _ ermrs• in•wr,i~ing~---_~o~· m~y-call·us, but if.you do·_ we .an~
    not r~uired. to irwestigate any potenti~I errors and yqu may have. to pay the e5mount in
    qµestiQf'l.

    What WiU Happe11 After We Receive.Your Lett•r

    Wh~n we receive      your letter,. we must do (2) things:

         L Wi.thin 30det¥5 o,f:rec:ei~ingy~ur letter, we. must tell you thatwe received your letter.
           We will alsotelt you if we. have al~ady corrected the error.

         2. Within 90 days of receiving yourletter, We rnust either correct the error or ~xpl~in to
             yQtJWhy we believe the bill is correct.

    While we investigate whether or not th¢re has been .an .error:,

         • We cannot try to collectthearnount Jn.question, or reportyoua$delinquenton                     th~·
              arnount.
         • The <;h.~tge in question may r~rnain ·on your           statement, and· we rn,ay c:ontiru.Je to
           ch(lrge ·you intere~ on. th~t amqunt.

         •    Whife   y9t1
                        do not have to pay the       ·amount Jn question, you are respon$ible for the
              remainder Of your balance.
